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A 245B (Rev..06/05) Judgment in a Criminal Case

 

 

 

Sheet 1
UNITED STATES DISTRICT COURT
Eastern District of Pennsylvania
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv,
Case Number: DPAE2:06CR000485-001

SEAN L. HAGINS USM Number: 60425-050

7003
ser \1D Bruce Wolf, Esq.

Defendant's Attomey

 

 

 

 

 

THE DEFENDANT:
C1 pieaded guilty to count(s)
C1 pieaded nolo contendere to count(s) 0
which was accepted by the court.
108
> was found guilty on count(s) ss, 4ss- 7ss ce \1 _

after a plea of not guilty.

The defendant is adjudicated guilty of these offenses: quent

Tithe & Section Nature of Offense Offense Ended Count
18:371 Conspiracy to Make False Statements in the Purchase of Firearms 12-29-2004 lss
18:922(g)(1) Possession of Firearm by Convicted Felon 12-29-2004 4ss-7ss

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed|pirsuant to

the Sentencing Reform Act of 1984.

X. The defendant has been found not guilty on count(s) 25-355

CJ Count(s) (is are dismissed on the motion of the United States.

_, [tis ordered that the defendant must notify the United States attorney for this district within 30 Oy of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered tolpay restitution,
the defendant must notify the court and United States attomey of material changes in econonc circumstances.

September 14, 2009

Date of imposition of \ —

Signature of Judge

 

Legrome D. Davis, United States District Court Judge _
Name and Title of Judge |

September 16, 2009
Date

 
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Sheet Z — Imprisonment

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DEFENDANT: SEAN L. HAGINS
CASE NUMBER; DPAE2:06CR000485-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

360 Months

X The court makes the following recommendations to the Bureau of Prisons:

The defendant is to receive drug treatment while imprisoned.

X The defendant is remanded to the custody of the United States Marshal.

£] The defendant shall surrender to the United States Marshal for this district:

O at Cam OF pm. on

 

O_ as notified by the United States Marshal.

_= ‘The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
O_ before 2 p.m. on
O as notified by the United States Marshal.
Ol as notified by the Probation or Pretrial Services Office.

 

 

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
a , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL!

 

 
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AQ245B (Rev. 06/05} Judgment in a Criminal Case
Sheet 2 — Supervised Release

 

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DEFENDANT: SEAN L. HAGINS
CASE NUMBER: DPAE2:06CR000485-001

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :

3 Years.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the

custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled

substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic
thereafter, as determined by the court.

(0 The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

X= The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if a

X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

drug tests

pplicable.)

(1 The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a

student, as directed by the probation officer. (Check, if applicable.)
(J The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
Schedule of Payments sheet of this judgment.

with the

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions

on the attached page.
STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of

each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation pfficer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other

acceptable reasons;
6) the defendant shall notify the probation officer at teast ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer,
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

any

>

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of

a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any

contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested by a law enforcement offic

T;
12) the defendant shal] not enter into any agreement to act as an informer or a special agent of a law enforcement seendy without the

permission of the court; and

13) asdirected by the prot anon officer, the defendant shal] notify third parties of risks that may be occasioned by the defendant's criminal

record or personal : eristic h
defendant's compliance with such notification requirement.

 

history or characteristics and shali permit the probation officer to make such notifications and tb confirm the
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AO 245B (Rev. 06/05) Judgment in a Criminal Case

Sheet 38 — Supervised Retease |

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DEFENDANT: SEAN L. HAGINS
CASE NUMBER: DPAE2:06CR000485-001

ADDITIONAL STANDARD CONDITIONS OF SUPERVISION

The defendant is to receive drug treatment to be determined by the U.S. Probation Department. The defendant is to
make available all financial records to the U.S. Probation Department and is not to open any lines of credit or credit cards
without the permission of the U.S. Probation Department.

 
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DEFENDANT: SEAN L. HAGINS

CASE NUMBER: DPAE2:06CR000485-001
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6,

Assessment Fine Restitution
FOTALS $ 500 $ 10,000 5
(1 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AQ 245C) will be entered

after such determination.
(4 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each ee shall receive an approsimalely pe ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18U.S.C, § 3664(), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
TOTALS $ 0 5 0

(2 Restitution amount ordered pursuant to plea agreement $

(0 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All ofthe payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

(J The court determined that the defendant does not have the ability to pay interest and it is ordered that:
C) the interest requirement is waived forthe ( fine (2 restitution.

(J the interest requirement forthe J fine ( restitution is modified as follows:

* Findings for the total amount of losses are a under Chapters 109A, 110, 1L0A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23,1996,
to eee te Ghane are ache-U0485-CDJ Document 183 Filed 09/17/09 Page 6 of 7

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DEFENDANT: SEAN L. HAGINS
CASE NUMBER: DPAE2:06CR000485-001

SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:
A X Lumpsumpaymentof$ _ 500 due immediately, balance due

(| not later than , or
[]_ in accordance oc oD OF E,or () F below; or

C1 Payment to begin immediately (may be combined with Oc, [)D,or X F below); or
€ (Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years}, to cammence (e.g., 30 or 60 days) after the date of this judgment; or
D (0 Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(é.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E (Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F x Special instructions regarding the payment of criminal monetary penalties:

THE DEFENDANT SHALL MAKE PAYMENTS FROM ANY WAGES HE MAY EARN IN PRISON IN
ACCORDANCE WITH THE BUREAU OF PRISONS’ INMATE FINANCIAL RESPONSIBILITY
PROGRAM. ANY PORTION OF THE FINE OR ASSESSMENT THAT IS NOT PAID IN FULL AT THE
TIME OF RELEASE FROM IMPRISONMENT SHALL BECOME A CONDITION OF SUPERVISED
RELEASE, WITH PAYMENTS MADE AT A RATE OF NOT LESS THAN $200 PER MONTH

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. Al] criminal monetary penalties, except those payments made through e Federal Bureau of Prisons’ Inmate Financia
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

C1 Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

(]_ The defendant shall pay the cost of prosecution.

O

The defendant shall pay the following court cost(s):

(1 The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: ( 1) assessment, (2) restitution principal, (3) restitution interest, (4) fine printipai,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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DEFENDANT; SEAN L. HAGINS
CASE NUMBER: DPAE2:06CR000485-001

ADDITIONAL FORFEITED PROPERTY

KEL TEC, MODEL P3AT, 380 CALIBER PISTOL, SERIAL NUMBER HDS46
INTRATEC, MODEL TEC 9,9mm PISTOL, SERIAL NUMBER D075942

SIG SAUER, MODEL P239,40 CALIBER PISTOL, SERIAL NUMBER 8A4103370
FEG/INTERARMS, MODEL AP, 380 CALIBER PISTOL, SERIAL NUMBER A00486
KEL TEC, MODEL P11,9mm PISTOL, SERIAL NUMBER A1Q06

SMITH & WESSON MODEL5906,9mm PISTOL, SERIAL NUMBER THB3610

PARA ORDINANCE, MODEL, P13.45,45 CALIBER PISTOL, SERIAL NUMBER RN3366
COLT, MODEL CORBRA, 38 CALIBER REVOLVER, SERIAL NUMBER F68864

HI POINT, MODEL JCP40.40CALIBER PISTOL, SERIAL NUMBER X711225

GLOCK, 40 CALIBER PISTOL, MODEL 27, WITH A DEFACED SERIAL NUMBER ON THE RECEIVER, AND
SERIAL NUMBER DDZ926 ON THE SLIDE

SIXTEEN (16) 40 CAL ROUNDS OF AMMUNITION; AND
ONE (1) BLACK MAGAZINE
